             Case 1:12-cv-10968-RWZ Document 1 Filed 05/31/12 Page 1 of 7



UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Ricardo Franks,                                    :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
J.A. Cambece Law Office, P.C.; and                 :
                                                     COMPLAINT
DOES 1-10, inclusive,                              :
                                                   :
                        Defendants.                :
                                                   :



                For this Complaint, the Plaintiff, Ricardo Franks, by undersigned counsel, states

as follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiff, Ricardo Franks (“Plaintiff”), is an adult individual residing in

Brockton, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
            Case 1:12-cv-10968-RWZ Document 1 Filed 05/31/12 Page 2 of 7



       5.      Defendant J.A. Cambece Law Office, P.C. (“Cambece”), is a Massachusetts

business entity with an address of 8 Bourbon Street, Peabody, Massachusetts 01960, operating as

a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Cambece and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      Cambece at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.      The Plaintiff allegedly incurred a financial obligation in the approximate amount

of $3,000.00 (the “Debt”) to Chase Bank N.A. (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Cambece for collection, or

Cambece was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. Cambece Engages in Harassment and Abusive Tactics


       12.     Within the last year, Cambece placed up to three calls a day to Plaintiff’s cellular

phone line in an attempt to collect the Debt.



                                                 2
          Case 1:12-cv-10968-RWZ Document 1 Filed 05/31/12 Page 3 of 7



        13.    Plaintiff informed Cambece that he could not pay the Debt at the moment due to

being unemployed and homeless.

        14.    Nonetheless, Cambece continued to call Plaintiff and demand that he pay the

Debt.

        15.    On one occasion Cambece’s collector Renee asked Plaintiff if he could pay any

amount “so this does not go to court”.

        16.    Renee used unprofessional language when speaking with Plaintiff: “Why don’t

you be a man and pay your bill?”

        17.    In addition, Cambece contacted Plaintiff’s mother Odessa Franks at her

residential phone line requesting to speak to Plaintiff despite the fact that Cambece already had a

correct phone number for Plaintiff and had been in contact with him.

        18.    In February, 2012, Cambece began contacting Plaintiff using an automated

telephone dialer system (hereafter “Robocalls”).

        19.    Cambece placed up to three (3) Robocalls a day to Plaintiff’s cellular phone line

(xxx-xxx- 9046) concerning the Debt.

        20.    Plaintiff never provided his cellular phone number to Cambece or to the Creditor.


   C. Plaintiff Suffered Actual Damages


        21.    The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

        22.    As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.



                                                 3
          Case 1:12-cv-10968-RWZ Document 1 Filed 05/31/12 Page 4 of 7



                                      COUNT I
                     VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       23.        The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       24.        The Defendants’ conduct violated 15 U.S.C. § 1692b(1) in that Defendants

contacted third parties and failed to identify themselves and further failed to confirm or correct

location information.

       25.        The Defendants’ conduct violated 15 U.S.C. § 1692b(1) in that Defendants

contacted third parties for purposes other than to confirm or correct location information.

       26.        The Defendants’ conduct violated 15 U.S.C. § 1692b(3) in that Defendants

contacted third parties in regards to the Plaintiff’s debt on numerous occasions, without being

asked to do so.

       27.        The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

       28.        The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

profane and abusive language when speaking with the consumer.

       29.        The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

       30.        The Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that Defendants

threatened to take legal action, without actually intending to do so.

       31.        The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.


                                                   4
          Case 1:12-cv-10968-RWZ Document 1 Filed 05/31/12 Page 5 of 7



       32.     The Plaintiff is entitled to damages as a result of Defendants’ violations.


                                 COUNT II
       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.

       33.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       34.     Without prior consent the Defendants contacted the Plaintiff by means of

automatic telephone calls or prerecorded messages at a cellular telephone or pager in violation of

47 U.S.C. § 227(b)(1)(A)(iii).

       35.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the Telephone Consumer Protection Act, including every one of the above-

cited provisions.

       36.     The Plaintiff is entitled to damages as a result of the Defendants’ violations.


                                 COUNT III
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       37.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       38.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       39.     Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.




                                                  5
          Case 1:12-cv-10968-RWZ Document 1 Filed 05/31/12 Page 6 of 7



       40.     The Defendant intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with numerous calls.

       41.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       42.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendant.

       43.     All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.


                                     PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:


                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                       against Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendants;

                   4. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                   5. Actual damages from Defendants for the all damages including emotional

                       distress suffered as a result of the intentional, reckless, and/or negligent

                       FDCPA violations and intentional, reckless, and/or negligent invasions of

                       privacy in an amount to be determined at trial for the Plaintiff;

                   6. Punitive damages; and

                   7. Such other and further relief as may be just and proper.

                                                   6
         Case 1:12-cv-10968-RWZ Document 1 Filed 05/31/12 Page 7 of 7



                      TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: May 31, 2012

                                    Respectfully submitted,

                                    By __/s/ Sergei Lemberg_________

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                                       7
